

People v Lopez (2019 NY Slip Op 02650)





People v Lopez


2019 NY Slip Op 02650


Decided on April 9, 2019


Appellate Division, First Department



Published by New York State Law Reporting Bureau pursuant to Judiciary Law § 431.


This opinion is uncorrected and subject to revision before publication in the Official Reports.



Decided on April 9, 2019

Renwick, J.P., Richter, Tom, Kahn, Moulton, JJ.


8929 2329/11

[*1]The People of the State of New York, Respondent,
vMichael Lopez, Defendant-Appellant.


Justine M. Luongo, The Legal Aid Society, New York (Michael C. Taglieri of counsel), for appellant.
Cyrus R. Vance, Jr., District Attorney, New York (Susan Axelrod of counsel), for respondent.



Judgment, Supreme Court, New York County (Michael R. Sonberg, J. at hearing; Charles H. Solomon, J. at plea and sentencing), rendered February 28, 2012, convicting defendant of criminal possession of a weapon in the second degree, and sentencing him to a term of 3½ years, unanimously affirmed.
The court properly denied defendant's suppression motion. There is no basis for disturbing the court's credibility determinations (see People v Prochilo , 41 NY2d 759, 761 [1977]).
An officer's testimony that he saw a revolver in defendant's waistband was not so implausible as to warrant rejection of the
hearing court's findings of fact.
THIS CONSTITUTES THE DECISION AND ORDER
OF THE SUPREME COURT, APPELLATE DIVISION, FIRST DEPARTMENT.
ENTERED: APRIL 9, 2019
CLERK








